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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA,
          Plaintiff,

vs                                                         CASE NOS: 3:05cr99-002
                                                                     3:05cr101-002

MIKE LINH PHAM,
           Defendant.
__________________________________________________/

                           ORDER REDUCING SENTENCE
       Before the Court is the Government's Rule 35 Motion advising that a reduction in
defendant's sentence may be warranted by his cooperation and substantial assistance since
his sentencing. The Court finds that a reduction is proper to reward his cooperation and
significant assistance to the Government in the investigation and prosecution of others.
       Defendant's sentence of confinement is, therefore, reduced in Case No. 3:05cr99-002
from 264 months and in Case No. 3:05cr101-002 from 240 months to 134 months in each
case to run concurrently, one with the other, and his period of supervised release in Case No.
3:05cr99-002 is reduced from 5 years to 3 years. In all other respects, the original sentence
imposed in the Judgment and Commitment Order filed 27 January 2006 shall remain
unchanged.
       ORDERED this 5th day of December, 2006.



                                                       s /L.A. Collier
                                                       LACEY A. COLLIER
                                                   Senior United States District Judge
